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                                  REPORT OF THE FINANCE COMMITTEE         EXHIBIT A-6

                                                      JULY 20, 2022

A meeting of the Finance Committee was held on Wednesday, July 20, 2022, at 7:00 p.m. in the Aldermanic Chamber
and via Zoom. The meeting link information can be found on the agenda.

Mayor Jim Donchess, Chairman, presided.

Members of the Committee present:        Mayor Jim Donchess
                                         Alderman Alex Comeau
                                         Alderman Tyler Gouveia
                                         Alderman-at-Large Ben Clemons
                                         Alderman-at-Large Melbourne Moran, Jr.

Members not in Attendance:               Alderman Patricia Klee, Vice Chair
                                         Alderwoman-at-Large Gloria Timmons

Also in Attendance:             Alderman Derek Thibeault (via Zoom)
                                Cheryl Lindner, Treasury Management Officer
                                Kim Kleiner, Administrative Services Director
                                Amy Girard, Purchasing Manager
                                Nick Miseirvitch, CIO, Information Technology
                                William Atkinson, Assistant Fire Chief
                                Tim Cummings, Economic Development Director
__________________________________________________________________________________

Mayor Donchess

I’m here and Alderwoman Klee contacted me to say she is away and her hotel has a very poor internet connection so she
is not able to join us. Public Comment is there any member of the public who would like to address the Committee?

PUBLIC COMMENT

Laurie Ortolano

Laurie Ortolano, 41 Berkeley Street. Good evening. I saw some communications in the packet that Mr. Cummings is
bringing forth information on the Riverfront Project and a few other things. I want to express my concerns with him as an
employee of the City and maintaining and performing any work on any of these projects. He is unfit to do that kind of
work. He is over assigned. He is deeply in violation of the law when it comes to Right-to-Know and open access to
meetings and information. He shares an office adjoining to the Mayor and the door is always locked and closed. He does
not consider himself a public servant and he will not make himself accessible to citizens at all. I’ve been to City Hall for
three years and I have never seen that door unlocked and opened. I’ve never been able to knock on the door and get
anyone to open the door. My access to Tim Cummings is always through the Mayor’s Office and the staff there has been
hesitant to be of assistance as well. Recently you just had a new hired person Jen come in and her customer service and
friendliness has been greatly improved in one week. I’m talking about one week. But really for two years it’s been
horrendous. I think Mr. Cummings is just a completely obnoxious, arrogant man and he doesn’t…

Mayor Donchess

Miss Ortolano this is not the purpose of the Public Comment. You’re address issues before the Finance Committee.
You’ve still got a few minutes. You cannot come on - it is not proper for you to come on here night after night and just
lambast all the employees with all the scurrilous comments. It is just not appropriate. It’s not appropriate.

Laurie Ortolano

You need to shut your mouth. Shut your pie hole Mr. Mayor. This is my public comment and I’m addressing not every
employee. I’m addressing Director Cummings and I have been in a very difficult situation trying to get information from
him. I sat in a December 15th meeting with him.

Mayor Donchess

You know I think we’re going to have to propose some kind of rules for Public Comment.
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Laurie Ortolano

I think you’re going to have to.

Mayor Donchess

The swearing, the profanity, the name calling. It is not appropriate. Pie hole, criminal, all this kind of stuff is not
appropriate.

Laurie Ortolano

I would agree with you. Shut your pie hole. Shut your pie hole.

Mayor Donchess

It degrades the Board of Aldermen, the City, and the public discourse.

Alderman Comeau

30 seconds.

Laurie Ortolano

Shut your pie hole. Shut your pie hole.

Mayor Donchess

And you’re certainly proving it now.

Laurie Ortolano

And it’s not profanity. You keep talking about profanity, and swearing, and all the things. I don’t see your public coming
out and doing that.

Mayor Donchess

Madam you call a woman lawyer in the City with the “c” word in a public meeting. So you need…

Laurie Ortolano

I described her behavior…

Mayor Donchess

…to become more appropriate.

Laurie Ortolano

I said you’re – Attorney Donchess. I referred to…

Alderman Comeau

Time.

Mayor Donchess

Your time is up Ms. Ortolano.

Laurie Ortolano

…of having…
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Mayor Donchess

All right.

COMMUNICATIONS

From: Amy Girard, Purchasing Agent II
Re:   Software & Hardware Maintenance in the amount not to exceed $77,660.01 funded from
      54407 Software Maintenance & 54412 Hardware Maintenance

MOTION BY ALDERMAN COMEAU TO PLACE ON FILE AND APPROVE A REQUEST FOR THE ANNUAL
RENEWAL OF THE CONTINUED OPERATION OF KRONOS MAINTENANCE AND SUPPORT SERVICES FOR THE
CITY TIMEKEEPING SOFTWARE WITH KRONOS, INC., IN AN AMOUNT NOT TO EXCEED $77,660.01. FUNDING
WILL BE THROUGH: DEPARTMENT: 122 INFORMATION TECHNOLOGY; FUND: 54407 SOFTWARE
MAINTENANCE ($62,711.20) AND 54412 HARDWARE MAINTENANCE ($14,948.81)

ON THE QUESTION

Mayor Donchess

Are you Miss Girard? Could you come in here and introduce yourself please?

Amy Girard, Purchasing Manager

Hi. My name is Amy Girard. I have been with the City of Nashua for two and a half years serving as Purchasing Agent II.
Kelly Parkinson has recently resigned and as of today I was promoted to Purchasing Manager.

Unidentified Male Speaker

Congratulations.

Amy Girard, Purchasing Manager

Thank you very much. So if any of you have any questions, please feel free to reach out and call me.

Mayor Donchess

Thank you very much.
Amy Girard, Purchasing Manager

Thank you.

Mayor Donchess

Now who’s going to address the software? Mr. Miseirvitch?

Nick Miseirvitch, CIO Information Technology

Thank you Mr. Mayor. As you are well aware, Kronos is the timekeeping and scheduling software that the City uses to
track time for all of its employees throughout the City and the School District, PD and Fire. This also is the annual
maintenance for TeleStaff which is used exclusively by PD and Fire. The hardware component is to provide support for
the 40 time clocks that are located throughout all City buildings and schools. This is, you know, just the annual
maintenance to continue to be able to use that product.

Mayor Donchess

Questions, comments?

MOTION CARRIED

Alderman Moran
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Quick point of order Mr. Mayor?

Mayor Donchess

Yes, Alderman Moran?

Alderman Moran

I was going to say this before while Public Comment, but Alderman Thibeault is also present and online with us.

Mayor Donchess

Alderman Thibeault we are acknowledging and recording your attendance.

From: Amy Girard, Purchasing Agent II
Re:   Physicals for firefighters in the amount not to exceed $141,660 funded from Grant Funds: 2020 Assistance to
      Firefighter Grants & 53135 Medical Services

MOTION BY ALDERMAN COMEAU TO PLACE ON FILE AND APPROVE A REQUEST FOR PHYSICALS FOR
FIREFIGHTERS WITH LIFE SCAN WELLNESS CENTERS FUNDED THROUGH A GRANT IN AN AMOUNT NOT TO
EXCEED $141,660. FUNDING WILL BE THROUGH: DEPARTMENT: 152 FIRE RESCUE; FUND: GRANT FUNDS -
2020 ASSISTANCE TO FIREFIGHTER GRANTS AND 53135 MEDICAL SERVICES

ON THE QUESTION

Mayor Donchess

We have a Deputy from the Fire Department. Come on up and tell us a little about this please. Thank you.

William Atkinson, Assistant Fire Chief

Good evening. My name is William Atkinson. I’m the Assistant Chief of Nashua Fire Rescue. We were in front of you in
November of 2021 for Resolution R-21-176. That was for a grant for $128,781.82. Out of our operating budget, we took
a $12,878 which equaled that not to exceed $141,660.

To-date, we’ve completed 77 physicals of our members. The second round of physicals will occur in the fall. These are
extremely comprehensive physicals. The National Fire Protection Association sets forward standards, consensus
standards for guidelines for physicals, and also for fitness for duty and overall health and wellness for fire fighters. These
physicals are completed entirely on site. Blood work is drawn on site, a chest x-ray is completed on site, an ultra sound
guided physical examination is completed on site, EKG, stress test on a treadmill both for stress and for the amount of
time it takes the person to recover to get their blood pressure down back within normal operating ranges that is recorded,
and there’s also a wellness component where a nutritionist meets with our members and gives them guidance on health,
nutrition, exercise, those sorts of things. So incredibly robust physical. The fact that it’s on site and delivered to our
members in the fire houses is obviously quite a convenience, but also is pretty much unheard of in today’s age.

So these Life Scan physical is a company out of Florida. They’re pretty much the defacto organization for fire service and
first responders across the country. They’ve had great success in being able to diagnose and provide some early
opportunities for recommendations for folks to go to their PCP’s for some additional follow up for things that may have
occurred or turned up either in blood work or more particularly in the ultrasounds because the ultrasound is pretty much
top to bottom. In our organization, we’ve also had some folks that were suggested to see their PCP’s and it’s resulted in
some very early captures of some things. So it’s a huge benefit. As I say, its grant funded and that we’re implementing it
in two phases. I’m happy to answer any questions that anyone might have.

Mayor Donchess

Questions, comments? Alderman Comeau?

Alderman Comeau

Yes, thank you. I don’t have a question just a comment. It sounds like a really good program that I’m pretty happy we
have so good job.
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William Atkinson, Assistant Fire Chief

Thank you.

MOTION CARRIED

UNFINISHED BUSINESS - None

TABLED IN COMMITTEE

MOTION BY ALDERMAN COMEAU TO REMOVE FROM THE TABLE THE THREE COMMUNICATIONS FROM TIM
CUMMINGS, ECONOMIC DEVELOPMENT DIRECTOR, LISTED ON THE AGENDA
MOTION CARRIED

From: Tim Cummings, Economic Development Director
Re:   Communication – Approval & Place on File a Contract for Professional Engineering Services related to the Nashua
      Downtown Riverfront Implementation Project with H.L. Turner Group

MOTION BY ALDERMAN COMEAU TO PLACE ON FILE AND APPROVE THE FIRST PHASE ON THE SPECIFIC
DETAILS OF THE CANTILEVERED BOARDWALKS TO H.L. TURNER GROUP IN AN AMOUNT NOT TO EXCEED
$404,340. FUNDING WILL BE THROUGH THE TIF ACOUNT CREATED TO IMPLEMENT THE DOWNTOWN
RIVERFRONT PROJECT

ON THE QUESTION

Mayor Donchess

Mr. Cummings?

Economic Development Director, Cummings

Thank you, Mr. Mayor. First just one of the communications, I’m going to ask that you hold it this evening. It’s not time
sensitive. I am not 100% sure that the scope will stay the same on this project so out of abundance of caution, I’m asking
that you hold the contract relative to VHB until your next Finance Committee meeting because if I’m going to have to
switch out the scope for this contract, I want to make sure everyone is aware of that. I know we’re not on that
communication right now but I did want to bring that up before a motion was read.

Putting that issue aside and going back to the motion and the subject matter at hand right now - approval of the final
design of the H.L. Turner contract, this is the 2nd phase if you will of the standard design and engineering for the Riverfront
Project which I’ve spoken to you all about over the years. This essentially is for H.L. Turner who is an engineering firm
that is expert in actually waterworks, so this is more environmentally related of evaluating the river and making sure that
what we do in the river or along the river’s edge is engineered appropriately and complies with all the various permitting.
So I’m asking for your favorable recommendation this evening. This is something that’s going to need full Board of
Aldermen approval and I am hopeful that once we get this underway we will be able to start construction next spring.

Mayor Donchess

Alderman Clemons?

Alderman Clemons

Thank you. First of all I wanted to just say the public comment said about this gentleman is completely incorrect and
false. Secondly, I do have a question. If we were to start the work on this, what part would they start first?

Tim Cummings, Economic Development Director

And you’re talking about the entire implementation of the Riverfront that we’re working on? The first project I would
recommend is the Cotton Mill Transfer Bridge ramp that we need for ADA related issues. That is a project that is actually
100% design right now and I’m hoping we can get under construction sooner but at the latest, it would be next spring. So
that would be the first project and then we would be looking to work on the furthest west side of the river. So from there,
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we would look to implement behind Clocktower, Park de la Renaissance, Water Street, Bicentennial Park, and then back
up to Main Street. We would work in that type of direction.

Alderman Clemons

Okay. So not the opposite bank behind where Riverside BBQ used to be?

Tim Cummings, Economic Development Director

That would be – following along, that would be the next side. So if we make our way around, that would be the very next
one we’d do.

Alderman Clemons

Okay. So we’re talking all that portion of the river. Okay thank you.

Mayor Donchess

Any other questions, comments?

MOTION CARRIED

From: Tim Cummings, Economic Development Director
Re:   Communication – Approval & Place on File a Contract Amendment for Professional Engineering Services related
      to the Nashua Downtown Riverfront Implementation Project VHB, Inc. for Water Street Design Services

MOTION BY ALDERMAN COMEAU TO TABLE
MOTION CARRIED

From: Kelly Parkinson, Purchasing Manager
Re:   Commissioning Services in the amount not to exceed $27,550 funded from 53107 Architect & Engineering
      Services/DPW Facility (Economic Development)

MOTION BY ALDERMAN COMEAU TO PLACE ON FILE AND AWARD THE CONTRACT FOR COMMISSIONING
SERVICES TO FITZEMEYER AND TOCCI IN AN AMOUNT NOT TO EXCEED $27,550. FUNDING WILL BE
THROUGH: DEPARTMENT: 160 ADMIN/ENGINEERING; FUND: 53107 ARCHITECT & ENGINEERING
SERVICES/DPW FACILITY

ON THE QUESTION

Mayor Donchess

Discussion? Oh excuse me. Mr. Cummings go ahead.

Tim Cummings, Economic Development Director

Yes. I won’t take up too much time. This goes along with the DPW Administrative Office’s construction project. This is a
third party professional services that’s provided to help make sure that the mechanicals, which is a big element of a
construction project, actually happens according to the plans and then they also help educate and teach the people who
will be actually making sure that the systems work appropriately.

This contract was recommended by the Joint Committee on Infrastructure and the Board of Public Works. We
competitively bid this service. We got something in the order of 5 to 7 responses. We whittled it down to two. Fitzemeyer
& Tocci was slightly more by $1,000 and that the lowest bidder but because we had previous work experience with
Fitzemeyer & Tocci in this type of service and the other known entity was foreign to us, it’s my recommendation that we go
with Fitzemeyer & Tocci. Thank you Mr. Mayor.

Mayor Donchess

Thank you. Any discussion, questions, comments?
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MOTION CARRIED

NEW BUSINESS – RESOLUTIONS - None

NEW BUSINESS – ORDINANCES - None

RECORD OF EXPENDITURES

MOTION BY ALDERMAN COMEAU THAT THE FINANCE COMMITTEE HAS COMPLIED WITH THE CITY CHARTER
AND ORDINANCES PERTAINING TO THE RECORD OF EXPENDITURES FOR THE PERIOD FROM JULY 1, 20222
TO JULY 14, 2022

Mayor Donchess

Any questions, discussion?

MOTION CARRIED

GENERAL DISCUSSION

Mayor Donchess

Any items of General Discussion?

We’ll now move to Public Comment for appropriate comments. We would ask the public to direct any public comments to
issues before the Committee and to use appropriate language when doing so.

PUBLIC COMMENT

Laurie Ortolano

Laurie Ortolano, 41 Berkeley Street. Mr. Mayor you made mention in the first Public Comment that you though perhaps a
new public policy should be adopted because of all the swearing and cussing going on during Public Comment and I
found that not to be truthful or really what I see going on in Public Comment. But then you brought up the fact that I
referred to Attorney Leonard with the “c” word. So you opened the door for that discussion. That happened about a year
ago and I really think that if you, or the City, or the Aldermen, or the Board of Assessors had been really bothered, you
would have changed the policy and you should have if you felt that way. But what I think is fair to say is it wasn’t a
continued behavior and I think today is the day for me to speak to why I said that and what the meaning of it was. I never
bothered addressing it because it just wasn’t worth it. I didn’t refer to Miss Leonard as a “cunt”. I referred to her, her
behavior as having the cuntiest behavior I’d ever seen. That is a little bit different.

Mayor Donchess

Miss Ortolano we don’t want to use profanity and these words that are so degrading to females. It’s just not appropriate.
We’ve got people walking out of the meeting right now because your discussion is so offensive.

Laurie Ortolano

I asked to speak to that. I think you don’t understand the meaning of that word. That is a very common expression in
British television and it’s used to describe men more than women. I watched a show and it struck a note with me. I’ve
heard before used and in British language in television it refers to something distasteful or you’re really irritated by it - bad
behavior - and most of the time it’s men they talk about. You can look it up in the dictionary and you can find that
reference. That’s why I threw it out there. I was talking about my arrest at City Hall, which was a very personal and
emotional issue to me.

Now I don’t care if people here that word and want to walk out because it’s a degrading body part because there have
been a lot of woman movements that have taken it away but I didn’t say that to refer to her genitalia. I’d say the same
expression to describe you and Attorney Bolton. It fits perfectly but nobody would have understood that. I actually
thought Dan Hansbury might because I thought he was a bit on the English side…

Alderman Comeau
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30 seconds.

Laurie Ortolano

…but he did not. But when you open the door to bring that up in a public meeting and bring up all the swearing and
cussing going on, I don’t see that that’s been the case and it’s another lie by you and misrepresentation and it’s exactly
what I expect from you. Thank you.

Scott McCullough

Hi. My name is Scott McCullough, 49 Congress Street, Building 49, Apt. 6. I’d like to comment on how excellent the bus
stop looks now. It’s looking amazing. Keep up the good work. It’s looking amazing. I can’t wait for the final project to be
done. One of the drivers said there was a tree in the corner. He said they have a camera and if it grows, it’s going to
block the camera just to give you a heads up, I didn’t know if you knew about that. I think this project is coming amazing.

Please City of Nashua folks please stay hydrated. It is hot. It is mid 90’s out there. I was just wondering did you receive
my painting I dropped off. I donated a painting towards you from my Best Buddies paint night and I donated it to your
office. That’s why you’re probably wondering what the heck is this. I donated that towards you for the donation you gave
Best Buddies.

I can agree on what you said. Obscene language. She should be ashamed. You never use that word at all. Period.
You should never use a “c” word at all. Like they say, they call it making a motion to remove the person off Zoom. I don’t
know if you knew you had that feature. It’s a good feature to have. Thank you and keep up the good work Mayor Jim
Donchess and everybody on the Board of Aldermen. Have a safe evening, keep cool, stay hydrated please. Thank you.

Mayor Donchess

Thank you Scott and we did very much enjoy the painting. Thank you. Any other Public Comment?

REMARKS BY THE ALDERMEN

Mayor Donchess

Alderman Clemons?

Alderman Clemons

Thank you Mr. Mayor. I appreciate the opportunity to speak. I think having served on the Board before when someone
was speaking like that, President McCarthy had the replays of the meeting have a parental advisory at the beginning of
the meeting because former Alderman Richardson decided that he was going to use offensive language in the past and
he was speaking at that podium. I was the Vice President of the Board at that time and Brian McCarthy was the
President. It was incumbent upon us to protect the public in future rehearings of that meeting by putting a parental
advisory on that right before the meeting. I would actually say that right before those comments are broadcast, that we
might consider and talk to Corporation Counsel if certain things can be edited out or at least bleeped over. I would also
put that parental advisory on there because the fact of the matter is children should be able to turn on Channel 16 and we
shouldn’t have to worry about whether or not there’s somebody speaking profane language on television. So that would
be my recommendation Mr. Mayor and I hope that happens.

And as far as the comments themselves, it’s really the only person that’s being dis-serviced there is the speaker because
they’re the ones that have to live with themselves after saying those things. They’re the ones that have to go out in public
and basically account for their behavior. So I think the public will be their own judge on that, although I am extremely
disappointed. Thank you.

Mayor Donchess

Alderman Moran?

Alderman Moran

Thank you Mr. Mayor. I agree with Alderman Clemons. My children 7 and 5 pretty much watch every Board meeting that
I’m at. You see my wife logged in here all the time. We don’t have public access because we stream, so it’s going to
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Zoom. It’s my right as a parent to let them learn language like that when they’re ready not from outside members of the
public to allow that language to be pushed onto public access or governmental meetings. You know you really on top of
the inappropriate language, you’re really interfering with a parent’s ability to parent and that’s not appropriate at all. I just
want to say that. Thank you.

Mayor Donchess

Any other remarks by Aldermen? Alderman Thibeault?

Alderman Thibeault

Thank you Mr. Mayor. Thank you Board. You know I wasn’t going to speak at all but I thank Scott. He’s always a breath
of fresh air every time he comes on. He said it exactly right and thank you for that Scott.

You know constantly defending Director Cummings and he does a great job like Alderman Clemons said and to actually
defend the Mayor tonight. You know the stuff she’s saying is slanderous. Public comment you should be allowed to free
speech and say what you want but there’s a line that you probably shouldn’t go over and today she finally went over that
line and to use that language is just disgusting and it’s wrong. I can’t say it enough how wrong it is. I would say that and I
don’t care who says it and I don’t care who it’s being said to, it’s wrong. It’s not something that we should be bringing into
the horseshoe or anywhere really. I appreciate the Mayor for trying to get in there and trying to stop her from speaking.
It’s not a good night for the City. Thank you.

Mayor Donchess

Any other remarks by Alderman?

ADJOURNMENT

MOTION BY ALDERMAN COMEAU TO ADJOURN
MOTION CARRIED

The Finance Committee meeting was adjourned at 7:28 p.m.

                                                                              Alderman Alex Comeau
                                                                              Committee Clerk
